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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA



      MANUFACTURING AUTOMATION
      & SOFTWARE SYSTEMS, INC.,
                                                         Case No. 2:16-cv-8962-CAS (KSx)
                        Plaintiff,
                                                         STIPULATED PROTECTIVE ORDER
             v.
      KRISTOPHER HUGHES, JAMES
      HUYSENTRUYT, INFORMATRAC, INC.,
      PCVUE, INC., EDWARD NUGENT, and
      DOES 1-10,
                        Defendants.



              Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and based on the
      parties’ Stipulated Protective Order (“Stipulation”) filed on August 2, 2017, the terms of the
      protective order to which the parties have agreed are adopted as a protective order of this
      Court (which generally shall govern the pretrial phase of this action) except to the extent, as
      set forth below, that those terms have been modified by the Court’s amendment of
      paragraphs 1, 6.2, 6.3, and 7.4(c) of the Stipulation.




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  1       AGREED TERMS OF THE PROTECTIVE ORDER AS ADOPTED AND MODIFIED BY
                                                  THE COURT1
  2

  3
      1.      PURPOSES AND LIMITATIONS
  4
              Disclosure and discovery activity in this action are likely to involve production of
  5
      confidential, proprietary, or private information for which special protection from public disclosure
  6
      and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,
  7
      the parties hereby stipulate to and petition the court to enter the following Stipulated Protective
  8
      Order. The parties acknowledge that this Order does not confer blanket protections on all
  9
      disclosures or responses to discovery and that the protection it affords from public disclosure and
 10
      use extends only to the limited information or items that are entitled to confidential treatment under
 11
      the applicable legal principles. The parties further acknowledge, as set forth in Section 13.4, below,
 12
      that this Stipulated Protective Order does not entitle them to file confidential information under
 13
      seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that
 14
      will be applied when a party seeks permission from the court to file material under seal.
 15
              This action is likely to involve trade secrets, patents, source code, and other valuable
 16
      research, development, commercial, financial, technical and/or proprietary customer
 17
      information for which special protection from public disclosure and from use for any
 18
      purpose other than litigation of this action is warranted.
 19
      2.      DEFINITIONS
 20
              2.1       Challenging Party: a Party or Non-Party that challenges the designation of
 21
      information or items under this Order.
 22
              2.2       “CONFIDENTIAL” Information or Items: information (regardless of how it is
 23
      generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of
 24
      Civil Procedure 26(c).
 25

 26   1
        The Court’s additions to the agreed terms of the Protective Order are generally indicated in bold
 27   typeface, and the Court’s deletions are indicated by lines through the text being deleted.

 28

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  1           2.3       Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well

  2   as their support staff).

  3           2.4       Designating Party: a Party or Non-Party that designates information or items that it

  4   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

  5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

  6   CODE.”

  7           2.5       Disclosure or Discovery Material: all items or information, regardless of the

  8   medium or manner in which it is generated, stored, or maintained (including, among other things,

  9   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

 10   responses to discovery in this matter.

 11           2.6       Expert: a person with specialized knowledge or experience in a matter pertinent to

 12   the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as

 13   a consultant in this action, (2) is not a past or current employee of a Party or a current employee of

 14   a Party’s competitor, and (3) at the time of retention, is not anticipated to become an employee of a

 15   Party or of a Party’s competitor.

 16           2.7       “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

 17   Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

 18   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by less

 19   restrictive means.

 20           2.8       “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely

 21   sensitive “Confidential Information or Items” representing computer code and associated

 22   comments and revision histories, formulas, engineering specifications, or schematics that define or

 23   otherwise describe in detail the algorithms or structure of software or hardware designs, disclosure

 24   of which to another Party or Non-Party would create a substantial risk of serious harm that could

 25   not be avoided by less restrictive means.

 26           2.9       House Counsel: attorneys who are employees of a party to this action. House

 27   Counsel does not include Outside Counsel of Record or any other outside counsel.

 28           2.10      Non-Party: any natural person, partnership, corporation, association, or other legal


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  1   entity not named as a Party to this action.

  2           2.11      Outside Counsel of Record: attorneys who are not employees of a party to this

  3   action but are retained to represent or advise a party to this action and have appeared in this action

  4   on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

  5           2.12      Party: any party to this action, including all of its officers, directors, employees,

  6   consultants, and Outside Counsel of Record (and their support staffs).

  7           2.13      Producing Party: a Party or Non-Party that produces Disclosure or Discovery

  8   Material in this action.

  9           2.14      Professional Vendors: persons or entities that provide litigation support services

 10   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

 11   storing, or retrieving data in any form or medium) and their employees and subcontractors.

 12           2.15      Protected Material: any Disclosure or Discovery Material that is designated as

 13   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or as

 14   “HIGHLY CONFIDENTIAL – SOURCE CODE.”

 15           2.16      Receiving Party: a Party that receives Disclosure or Discovery Material from a

 16   Producing Party.

 17   3.      SCOPE

 18           The protections conferred by this Stipulation and Order cover not only Protected Material

 19   (as defined above), but also (1) any information copied or extracted from Protected Material; (2) all

 20   copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

 21   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

 22   However, the protections conferred by this Stipulation and Order do not cover the following

 23   information: (a) any information that is in the public domain at the time of disclosure to a

 24   Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as a

 25   result of publication not involving a violation of this Order, including becoming part of the public

 26   record through trial or otherwise; and (b) any information known to the Receiving Party prior to the

 27   disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

 28   information lawfully and under no obligation of confidentiality to the Designating Party. Any use


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  1   of Protected Material at trial shall be governed by a separate agreement or order.

  2   4.      DURATION
              Even after final disposition of this litigation, the confidentiality obligations imposed by this
  3
      Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
  4
      otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and
  5
      defenses in this action, with or without prejudice; and (2) final judgment herein after the
  6
      completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
  7
      including the time limits for filing any motions or applications for extension of time pursuant to
  8
      applicable law.
  9
      5.      DESIGNATING PROTECTED MATERIAL
 10
              5.1       Exercise of Restraint and Care in Designating Material for Protection. Each Party or
 11
      Non-Party that designates information or items for protection under this Order must take care to
 12
      limit any such designation to specific material that qualifies under the appropriate standards. To the
 13
      extent it is practical to do so, the Designating Party must designate for protection only those parts
 14
      of material, documents, items, or oral or written communications that qualify – so that other
 15
      portions of the material, documents, items, or communications for which protection is not
 16
      warranted are not swept unjustifiably within the ambit of this Order.
 17
              Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown
 18
      to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily
 19
      encumber or retard the case development process or to impose unnecessary expenses and burdens
 20
      on other parties) expose the Designating Party to sanctions.
 21
              If it comes to a Designating Party’s attention that information or items that it designated for
 22
      protection do not qualify for protection at all or do not qualify for the level of protection initially
 23
      asserted, that Designating Party must promptly notify all other parties that it is withdrawing the
 24
      mistaken designation.
 25
              5.2       Manner and Timing of Designations. Except as otherwise provided in this Order
 26
      (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
 27
      Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so
 28

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  1   designated before the material is disclosed or produced. Designation in conformity with this Order

  2   requires:

  3                     (a) for information in documentary form (e.g., paper or electronic documents, but

  4   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

  5   affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

  6   ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains protected

  7   material. If only a portion or portions of the material on a page qualifies for protection, the

  8   Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

  9   markings in the margins) and must specify, for each portion, the level of protection being asserted.

 10           A Party or Non-Party that makes original documents or materials available for inspection

 11   need not designate them for protection until after the inspecting Party has indicated which material

 12   it would like copied and produced. During the inspection and before the designation, all of the

 13   material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

 14   ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

 15   copied and produced, the Producing Party must determine which documents, or portions thereof,

 16   qualify for protection under this Order. Then, before producing the specified documents, the

 17   Producing Party must affix the appropriate legend (“CONFIDENTIAL,” “HIGHLY

 18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

 19   CODE) to each page that contains Protected Material. If only a portion or portions of the material

 20   on a page qualifies for protection, the Producing Party also must clearly identify the protected

 21   portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each

 22   portion, the level of protection being asserted.

 23                     (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

 24   Designating Party identify on the record, before the close of the deposition, hearing, or other

 25   proceeding, all protected testimony and specify the level of protection being asserted. When it is

 26   impractical to identify separately each portion of testimony that is entitled to protection and it

 27   appears that substantial portions of the testimony may qualify for protection, the Designating Party

 28   may invoke on the record (before the deposition, hearing, or other proceeding is concluded) a right


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  1   to have up to 21 days to identify the specific portions of the testimony as to which protection is

  2   sought and to specify the level of protection being asserted. Only those portions of the testimony

  3   that are appropriately designated for protection within the 21 days shall be covered by the

  4   provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify, at

  5   the deposition or up to 21 days afterwards if that period is properly invoked, that the entire

  6   transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

  7   ATTORNEYS’ EYES ONLY.”

  8           Parties shall give the other parties notice if they reasonably expect a deposition, hearing or

  9   other proceeding to include Protected Material. In the event that a party is asked to leave a

 10   deposition due to the likelihood the questions or testimony will include Protected Material, the

 11   party shall do so without disputing the designation. In the event that the party asked to leave, or his

 12   or her counsel, believes that the requests are being made vexactiously or without merit, the party’s

 13   counsel may contact the magistrate telephonically for assistance in resolving the dispute, and in the

 14   event the magistrate is unable to resolve the dispute at that time, the party may suspend the

 15   deposition until the magistrate has resolved the issue.

 16           The use of a document as an exhibit at a deposition shall not in any way affect its

 17   designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 18   ONLY.”

 19           Transcripts containing Protected Material shall have an obvious legend on the title page that

 20   the transcript contains Protected Material, and the title page shall be followed by a list of all pages

 21   (including line numbers as appropriate) that have been designated as Protected Material and the

 22   level of protection being asserted by the Designating Party. The Designating Party shall inform the

 23   court reporter of these requirements. Any transcript that is prepared before the expiration of a 21-

 24   day period for designation shall be treated during that period as if it had been designated “HIGHLY

 25   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise agreed. After

 26   the expiration of that period, the transcript shall be treated only as actually designated.

 27                     (c) for information produced in some form other than documentary and for any

 28   other tangible items, that the Producing Party affix in a prominent place on the exterior of the


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  1   container or containers in which the information or item is stored the legend “CONFIDENTIAL,”

  2   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

  3   SOURCE CODE.” If only a portion or portions of the information or item warrant protection, the

  4   Producing Party, to the extent practicable, shall identify the protected portion(s) and specify the

  5   level of protection being asserted.

  6           5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

  7   designate qualified information or items does not, standing alone, waive the Designating Party’s

  8   right to secure protection under this Order for such material. Upon timely correction of a

  9   designation, the Receiving Party must make reasonable efforts to assure that the material is treated

 10   in accordance with the provisions of this Order.

 11   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 12           6.1       Timing of Challenges. Any Party or Non-Party may challenge a designation of

 13   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 14   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 15   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

 16   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 17   original designation is disclosed.

 18           6.2       Meet and Confer. The Challenging Party shall initiate the dispute resolution

 19   process under Local Rule 37.1 et seq. The Challenging Party shall initiate the dispute resolution

 20   process by provideing written notice of each designation it is challenging and describing the basis

 21   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written notice

 22   must recite that the challenge to confidentiality is being made in accordance with this specific

 23   paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good faith

 24   and must begin the process by conferring directly (in voice to voice dialogue; other forms of

 25   communication are not sufficient) within 14 days of the date of service of notice. In conferring, the

 26   Challenging Party must explain the basis for its belief that the confidentiality designation was not

 27   proper and must give the Designating Party an opportunity to review the designated material, to

 28   reconsider the circumstances, and, if no change in designation is offered, to explain the basis for


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  1   the chosen designation. A Challenging Party may proceed to the next stage of the challenge process

  2   only if it has engaged in this meet and confer process first or establishes that the Designating Party

  3   is unwilling to participate in the meet and confer process in a timely manner and the parties have

  4   engaged in a pre-filing telephonic conference with the court pursuant to the court’s

  5   procedures.

  6           6.3       Judicial Intervention. If, following a pre-filing telephonic conference with the

  7   court, counsel are unable to settle their differences, they shall formulate a written stipulation,

  8   in accordance with Local Rule 37-2, unless otherwise ordered by the court. The stipulation

  9   shall be filed and served with the notice of motion. Exhibits to the stipulation may include

 10   declarations prepared in conformity with Local Rule 7-7. When a party states its contentions

 11   with respect to whether to retain confidentiality of the designated material, such party shall

 12   also state how it proposed to resolve the dispute over that issue at the conference of counsel. If

 13   the Parties cannot resolve a challenge without court intervention, the Designating Party shall file

 14   and serve a motion to retain confidentiality under Civil Local Rule 7 (and in compliance with Civil

 15   Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge or within 14 days of

 16   the parties agreeing that the meet and confer process will not resolve their dispute, whichever is

 17   earlier. Each such motion must be accompanied by a competent declaration affirming that the

 18   movant has complied with the meet and confer requirements imposed in the preceding paragraph.

 19   Failure by the Designating Party to make such a motion including the required declaration within

 20   21 days (or 14 days, if applicable) shall automatically waive the confidentiality designation for

 21   each challenged designation. In addition, the Challenging Party may, but need not, file a motion

 22   challenging a confidentiality designation at any time if there is good cause for doing so, including a

 23   challenge to the designation of a deposition transcript or any portions thereof. Any motion brought

 24   pursuant to this provision must be accompanied by a competent declaration affirming that the

 25   movant has complied with the meet and confer requirements imposed by the preceding paragraph.

 26           The burden of persuasion in any such challenge proceeding shall be on the Designating

 27   Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

 28   unnecessary expenses and burdens on other parties) may expose the Challenging Party to sanctions.


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   1   Unless the Designating Party has waived the confidentiality designation by failing to file a motion

   2   to retain confidentiality as described above, all parties shall continue to afford the material in

   3   question the level of protection to which it is entitled under the Producing Party’s designation until

   4   the court rules on the challenge.

   5           The parties may agree, or the Court may order, that the burden of moving be shifted to the

   6   Challenging Party in the event the Court finds that one or more challenges was frivolous or was an

   7   abuse of process. The burden of persuasion would remain on the Designating Party.

   8   7.      ACCESS TO AND USE OF PROTECTED MATERIAL

   9           7.1       Basic Principles. A Receiving Party may use Protected Material that is disclosed or

  10   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

  11   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

  12   the categories of persons and under the conditions described in this Order. When the litigation has

  13   been terminated, a Receiving Party must comply with the provisions of section 14 below (FINAL

  14   DISPOSITION).

  15           Protected Material must be stored and maintained by a Receiving Party at a location and in

  16   a secure manner, including password-protecting electronic Protected Material, that ensures that

  17   access is limited to the persons authorized under this Order.

  18           7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

  19   by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

  20   information or item designated “CONFIDENTIAL” only to:

  21                     (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

  22   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

  23   information for this litigation and who have signed the “Acknowledgment and Agreement to Be

  24   Bound” that is attached hereto as Exhibit A;

  25                     (b) the officers, directors, and employees (including House Counsel) of the

  26   Receiving Party to whom disclosure is reasonably necessary for this litigation and who have signed

  27   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

  28                     (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is


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   1   reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

   2   to Be Bound” (Exhibit A);

   3                     (d) the court and its personnel;

   4                     (e) court reporters and their staff, professional jury or trial consultants, and

   5   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

   6   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

   7                     (f) during their depositions, witnesses in the action to whom disclosure is reasonably

   8   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

   9   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

  10   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

  11   bound by the court reporter and may not be disclosed to anyone except as permitted under this

  12   Stipulated Protective Order.

  13                     (g) the author or recipient of a document containing the information or a custodian

  14   or other person who otherwise possessed or knew the information.

  15           7.3       Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and

  16   “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered

  17   by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

  18   information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

  19   “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:

  20                     (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

  21   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

  22   information for this litigation and who have signed the “Acknowledgment and Agreement to Be

  23   Bound” that is attached hereto as Exhibit A;

  24                     (b) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary

  25   for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound”

  26   (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been

  27   followed;

  28                     (c) the court and its personnel;


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   1                       (d) court reporters and their staff, professional jury or trial consultants, and

   2   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

   3   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

   4                       (e) the author or recipient of a document containing the information or a custodian

   5   or other person who otherwise possessed or knew the information.

   6             7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL –

   7   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” Information

   8   or Items to Experts.

   9                       (a) Unless otherwise ordered by the court or agreed to in writing by the Designating

  10   Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information or item

  11   that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

  12   “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must make a

  13   written request to the Designating Party that (1) identifies the general categories of “HIGHLY

  14   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

  15   CODE” information that the Receiving Party seeks permission to disclose to the Expert, (2) sets

  16   forth the full name of the Expert and the city and state of his or her primary residence, (3) attaches

  17   a copy of the Expert’s current resume, (4) identifies the Expert’s current employer(s), (5) identifies

  18   each person or entity from whom the Expert has received compensation or funding for work in his

  19   or her areas of expertise or to whom the expert has provided professional services, including in

  20   connection with a litigation, at any time during the preceding five years,1 and (6) identifies (by

  21   name and number of the case, filing date, and location of court) any litigation in connection with

  22   which the Expert has offered expert testimony, including through a declaration, report, or

  23   testimony at a deposition or trial, during the preceding five years.2

  24

  25   1
         If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the Expert should
       provide whatever information the Expert believes can be disclosed without violating any confidentiality agreements, and the Party
  26   seeking to disclose to the Expert shall be available to meet and confer with the Designating Party regarding any such engagement.
       2
        It may be appropriate in certain circumstances to restrict the Expert from undertaking certain limited work prior to the termination
  27   of the litigation that could foreseeably result in an improper use of the Designating Party’s “HIGHLY CONFIDENTIAL –
       ATTORNEYS’ EYES ONLY” information.
  28

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   1                     (b) A Party that makes a request and provides the information specified in the

   2   preceding respective paragraphs may disclose the subject Protected Material to the identified

   3   Expert unless, within 14 days of delivering the request, the Party receives a written objection from

   4   the Designating Party. Any such objection must set forth in detail the grounds on which it is based.

   5                     (c) A Party that receives a timely written objection must meet and confer with the

   6   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by agreement

   7   within seven days of the written objection. If no agreement is reached, the Party seeking to make

   8   the disclosure to the Expert may initiate the dispute resolution process under Local Rule 37.1 et

   9   seq. (and in compliance with the Court’s pre-filing requirements). If the court grants permission to

  10   file a motion , and in compliance with Civil Local Rule 79-5,) seeking permission from the court

  11   to do so. A any such motion must describe the circumstances with specificity, set forth in detail the

  12   reasons why the disclosure to the Expert is reasonably necessary, assess the risk of harm that the

  13   disclosure would entail, and suggest any additional means that could be used to reduce that risk. In

  14   addition, any such motion must be accompanied by a competent declaration describing the parties’

  15   efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and confer

  16   discussions) and setting forth the reasons advanced by the Designating Party for its refusal to

  17   approve the disclosure.

  18           In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

  19   of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

  20   outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.

  21   8.      SOURCE CODE

  22                     (a)    To the extent production of source code becomes necessary in this case, a

  23   Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE” if

  24   it comprises or includes confidential, proprietary or trade secret source code.

  25                     (b)    Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE

  26   CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –

  27   ATTORNEYS’ EYES ONLY” information, and may be disclosed only to the individuals to whom

  28   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information may be disclosed, as


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   1   set forth in Paragraphs 7.3 and 7.4

   2                     (c)   Any source code produced in discovery shall be made available for

   3   inspection, in a format allowing it to be reasonably reviewed and searched, during normal business

   4   hours or at other mutually agreeable times, at an office of the Producing Party’s counsel or another

   5   mutually agreed upon location. The source code shall be made available for inspection on a secured

   6   computer in a secured room without Internet access or network access to other computers, and the

   7   Receiving Party shall not copy, remove, or otherwise transfer any portion of the source code onto

   8   any recordable media or recordable device. The Producing Party may visually monitor the

   9   activities of the Receiving Party’s representatives during any source code review, but only to

  10   ensure that there is no unauthorized recording, copying, or transmission of the source code.

  11                     (d)   The Receiving Party may request paper copies of limited portions of source

  12   code that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or

  13   other papers, or for deposition or trial, but shall not request paper copies for the purposes of

  14   reviewing the source code other than electronically as set forth in paragraph (c) in the first instance.

  15   The Producing Party shall provide all such source code in paper form including bates numbers and

  16   the label “HIGHLY CONFIDENTIAL - SOURCE CODE.” The Producing Party may challenge

  17   the amount of source code requested in hard copy form pursuant to the dispute resolution

  18   procedure and timeframes set forth in Paragraph 6 whereby the Producing Party is the

  19   “Challenging Party” and the Receiving Party is the “Designating Party” for purposes of dispute

  20   resolution.

  21                     (e)   The Receiving Party shall maintain a record of any individual who has

  22   inspected any portion of the source code in electronic or paper form. The Receiving Party shall

  23   maintain all paper copies of any printed portions of the source code in a secured, locked area. The

  24   Receiving Party shall not create any electronic or other images of the paper copies and shall not

  25   convert any of the information contained in the paper copies into any electronic format. The

  26   Receiving Party shall only make additional paper copies if such additional copies are (1) necessary

  27   to prepare court filings, pleadings, or other papers (including a testifying expert’s expert report),

  28   (2) necessary for deposition, or (3) otherwise necessary for the preparation of its case. Any paper


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   1   copies used during a deposition shall be retrieved by the Producing Party at the end of each day and

   2   must not be given to or left with a court reporter or any other unauthorized individual. The

   3   Receiving Party must provide notice to the Producing Party before including “HIGHLY

   4   CONFIDENTIAL – SOURCE CODE” information in a court filing, pleading, or expert report.

   5   9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
               LITIGATION
   6
                         If a Party is served with a subpoena or a court order issued in other litigation that
   7
       compels disclosure of any information or items designated in this action as “CONFIDENTIAL,”
   8
       “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –
   9
       SOURCE CODE” that Party must:
  10
                         (a) promptly notify in writing the Designating Party. Such notification shall include
  11
       a copy of the subpoena or court order;
  12
                         (b) promptly notify in writing the party who caused the subpoena or order to issue in
  13
       the other litigation that some or all of the material covered by the subpoena or order is subject to
  14
       this Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and
  15
                         (c) cooperate with respect to all reasonable procedures sought to be pursued by the
  16
       Designating Party whose Protected Material may be affected.
  17
                         If the Designating Party timely seeks a protective order, the Party served with the
  18
       subpoena or court order shall not produce any information designated in this action as
  19
       “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or
  20
       “HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the court from which
  21
       the subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The
  22
       Designating Party shall bear the burden and expense of seeking protection in that court of its
  23
       confidential material – and nothing in these provisions should be construed as authorizing or
  24
       encouraging a Receiving Party in this action to disobey a lawful directive from another court.
  25
       10.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
  26           LITIGATION

  27                     (a)    The terms of this Order are applicable to information produced by a Non-

  28   Party in this action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –


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   1   ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such

   2   information produced by Non-Parties in connection with this litigation is protected by the remedies

   3   and relief provided by this Order. Nothing in these provisions should be construed as prohibiting a

   4   Non-Party from seeking additional protections.

   5                     (b)      In the event that a Party is required, by a valid discovery request, to produce

   6   a Non-Party’s confidential information in its possession, and the Party is subject to an agreement

   7   with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

   8                           1. promptly notify in writing the Requesting Party and the Non-Party that some

   9   or all of the information requested is subject to a confidentiality agreement with a Non-Party;

  10                           2. promptly provide the Non-Party with a copy of the Stipulated Protective

  11   Order in this litigation, the relevant discovery request(s), and a reasonably specific description of

  12   the information requested; and

  13                           3. make the information requested available for inspection by the Non-Party.

  14                     (c)      If the Non-Party fails to object or seek a protective order from this court

  15   within 14 days of receiving the notice and accompanying information, the Receiving Party may

  16   produce the Non-Party’s confidential information responsive to the discovery request. If the Non-

  17   Party timely seeks a protective order, the Receiving Party shall not produce any information in its

  18   possession or control that is subject to the confidentiality agreement with the Non-Party before a

  19   determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

  20   burden and expense of seeking protection in this court of its Protected Material.

  21   11.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

  22                     If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

  23   Protected Material to any person or in any circumstance not authorized under this Stipulated

  24   Protective Order, the Receiving Party must immediately (a) notify in writing the Designating Party

  25   of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

  26   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were made

  27   of all the terms of this Order, and (d) request such person or persons to execute the

  28   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.


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       12.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
   1            MATERIAL

   2                     When a Producing Party gives notice to Receiving Parties that certain inadvertently

   3   produced material is subject to a claim of privilege or other protection, the obligations of the

   4   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

   5   is not intended to modify whatever procedure may be established in an e-discovery order that

   6   provides for production without prior privilege review. Pursuant to Federal Rule of Evidence

   7   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

   8   communication or information covered by the attorney-client privilege or work product protection,

   9   the parties may incorporate their agreement in the stipulated protective order submitted to the

  10   court.

  11   13.      MISCELLANEOUS

  12            13.1     Right to Further Relief. Nothing in this Order abridges the right of any person or

  13   entity to seek its modification by the court in the future.

  14            13.2     Right to Assert Other Objections. By stipulating to the entry of this Protective Order

  15   no Party waives any right it otherwise would have to object to disclosing or producing any

  16   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

  17   Party waives any right to object on any ground to use in evidence of any of the material covered by

  18   this Protective Order.

  19            13.3     Filing Protected Material. Without written permission from the Designating Party or

  20   a court order secured after appropriate notice to all interested persons, a Party may not file in the

  21   public record in this action any Protected Material. A Party that seeks to file under seal any

  22   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed

  23   under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

  24   issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing

  25   that the Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled

  26   to protection under the law.

  27   14.      FINAL DISPOSITION

  28                     Within 60 days after the final disposition of this action, as defined in paragraph 4,


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   1   each Receiving Party must return all Protected Material to the Producing Party or destroy such

   2   material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

   3   compilations, summaries, and any other format reproducing or capturing any of the Protected

   4   Material. Whether the Protected Material is returned or destroyed, the Receiving Party must submit

   5   a written certification to the Producing Party (and, if not the same person or entity, to the

   6   Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all

   7   the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

   8   not retained any copies, abstracts, compilations, summaries or any other format reproducing or

   9   capturing any of the Protected Material. Notwithstanding this provision, Outside Counsel of

  10   Record are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and

  11   hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,

  12   attorney work product, and consultant and expert work product, even if such materials contain

  13   Protected Material. Any such archival copies that contain or constitute Protected Material remain

  14   subject to this Protective Order as set forth in Section 4 (DURATION).

  15
       PURSUANT TO STIPULATION, IT IS SO ORDERED.
  16

  17   DATED: August 3, 2017                          _____________________________________
                                                      Karen L. Stevenson
  18                                                  United States Magistrate Judge
  19

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   1                                                   EXHIBIT A

   2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

   3                     I, _____________________________ [print or type full name], of

   4   _________________ [print or type full address], declare under penalty of perjury that I have read

   5   in its entirety and understand the Stipulated Protective Order that was issued by the United States

   6   District Court for the Central District of California on ______________[date] in the case of

   7   Manufacturing Automation & Software Sys. v. Hughes, et al., 2:16-cv-8962-CAS (KSx). I agree to

   8   comply with and to be bound by all the terms of this Stipulated Protective Order and I understand

   9   and acknowledge that failure to so comply could expose me to sanctions and punishment in the

  10   nature of contempt. I solemnly promise that I will not disclose in any manner any information or

  11   item that is subject to this Stipulated Protective Order to any person or entity except in strict

  12   compliance with the provisions of this Order.

  13                     I further agree to submit to the jurisdiction of the United States District Court for the

  14   Northern District of California for the purpose of enforcing the terms of this Stipulated Protective

  15   Order, even if such enforcement proceedings occur after termination of this action.

  16                     I hereby appoint __________________________ [print or type full name] of

  17   _______________________________________ [print or type full address and telephone number]

  18   as my California agent for service of process in connection with this action or any proceedings

  19   related to enforcement of this Stipulated Protective Order.

  20

  21   Date: _________________________________

  22   City and State where sworn and signed: _________________________________

  23   Printed name: ______________________________
                     [printed name]
  24

  25   Signature: __________________________________
                     [signature]
  26

  27

  28

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